Case 1:11-cv-20427-KMW Document 257-11 Entered on FLSD Docket 02/13/2012 Page 1 of 4




                           E X H IB IT K
 Case 1:11-cv-20427-KMW Document 257-11 Entered on FLSD Docket 02/13/2012 Page 2 of 4

Hotflle:AccountTermination -W lunction                                                                                                                                                    http:
                                                                                                                                                                                              //www.wjunction.coY showte eaâphpA=6g3s6
       '




                                          #& e * U N #c -                                                                                                                                                                                                 Fe % rv*p.yxt- m@xtfe Aktc                                                            *:
                      .     .
                                   l / #
                                          *          ;l l , .                                                         .                                                                                         *              .
                                                                                                                                                                                                                                                                Makemonevuoloadjnavourhle:here

       tI'  ,.:
         <1è' u''
                t.r' .'
                   ..r.c'
                        ..'
                          il1
                            .1
                             l
                             r@
                              .(
                              ''-
                                M
                                2'
                                 .<..'k
                                 '        4.qas*.'
                                          l      y,p1
                                                    y1
                                                     7I
                                                      .?
                                                       i
                                                       ;ï
                                                        .'
                                                         2t
                                                          '
                                                          .!
                                                           .s
                                                            1'3t.
                                                                1,7.1,,4.C
                                                                         ,'t&ktur;lgrf'5h:/''
                                                                                            :'.1.,4''.d..?f.... . .Jc.4...)
                                                                                                   ,,
                                                                                                    .                     ''J?;.!r'yk.ï...s't'ï':1:'.>'.T''''C'>*'?
                                                                                                                          .                                       'b
                                                                                                                                                                   'k'A
                                                                                                                                                                      .t
                                                                                                                                                                       .1
                                                                                                                                                                        3
                                                                                                                                                                        ..y1t.
                                                                                                                                                                             ï''.
                                                                                                                                                                                't&!'x!$
                                                                                                                                                                                       .r
                                                                                                                                                                                        '1
                                                                                                                                                                                         'i
                                                                                                                                                                                          t<
                                                                                                                                                                                           'i'
                                                                                                                                                                                             bq
                                                                                                                                                                                              .k.........'..
                                                                                                                                                                                              .'            rh.j.5...kQ
                                                                                                                                                                                                           .?         a:!
                                                                                                                                                                                                                        F
                                                                                                                                                                                                                        s#
                                                                                                                                                                                                                         q
                                                                                                                                                                                                                         .l
                                                                                                                                                                                                                          ..
                                                                                                                                                                                                                           4
                                                                                                                                                                                                                           .-
                                                                                                                                                                                                                            TJ
                                                                                                                                                                                                                             '
                                                                                                                                                                                                                             %wr
                                                                                                                                                                                                                               qt
                                                                                                                                                                                                                               .kr1
                                                                                                                                                                                                                                  ,M'
                                                                                                                                                                                                                                  .,..p
                                                                                                                                                                                                                                   .  '''
                                                                                                                                                                                                                                        =
                                                                                                                                                                                                                                        'A'
                                                                                                                                                                                                                                          'f$
                                                                                                                                                                                                                                            *
                                                                                                                                                                                                                                            '$
                                                                                                                                                                                                                                             9
                                                                                                                                                                                                                                             .7
                                                                                                                                                                                                                                             k.>ê''
                                                                                                                                                                                                                                                  '''QN'7
                                                                                                                                                                                                                                                        'X''t'':%kJJ'
                                                                                                                                                                                                                                                                    i
                                                                                                                                                                                                                                                                    3'
                                                                                                                                                                                                                                                                    .y4
                                                                                                                                                                                                                                                                      #Ir'
                                                                                                                                                                                                                                                                         :
                                                                                                                                                                                                                                                                         tl
                                                                                                                                                                                                                                                                          v?
                                                                                                                                                                                                                                                                           7E1
                                                                                                                                                                                                                                                                             .:
                                                                                                                                                                                                                                                                              ..1.'..:A
                                                                                                                                                                                                                                                                                      1:
                                                                                                                                                                                                                                                                                       ,z
                                                                                                                                                                                                                                                                                       èk
                                                                                                                                                                                                                                                                                        '$
                                                                                                                                                                                                                                                                                         !
                                                                                                                                                                                                                                                                                         ;J
                                                                                                                                                                                                                                                                                          v
                                                                                                                                                                                                                                                                                          'p
                                                                                                                                                                                                                                                                                           !
                                                                                                                                                                                                                                                                                           ;@
                                                                                                                                                                                                                                                                                           .$
                                                                                                                                                                                                                                                                                            .k
                                                                                                                                                                                                                                                                                             n1?
                                                                                                                                                                                                                                                                                               wt
                                                                                                                                                                                                                                                                                                .C
                                                                                                                                                                                                                                                                                                 ,'
                                                                                                                                                                                                                                                                                                 .?
                                                                                                                                                                                                                                                                                                  '?
                                                                                                                                                                                                                                                                                                   'A
                                                                                                                                                                                                                                                                                                    '>$
                                                                                                                                                                                                                                                                                                      7
                                                                                                                                                                                                                                                                                                      ''
                                                                                                                                                                                                                                                                                                       f''
                                                                                                                                                                                                                                                                                                         ''
                                                                                                                                                                                                                                                                                                          ''-1>''7*
                                                                                                                                                                                                                                                                                                                  t'
                                                                                                                                                                                                                                                                                                                   '%
                                                                                                                                                                                                                                                                                                                    '9''n
                                                                                                                                                                                                                                                                                                                        ''
                                                                                                                                                                                                                                                                                                                         '>
                                                                                                                                                                                                                                                                                                                          .71
                                                                                                                                                                                                                                                                                                                            'FQ
                                                                                                                                                                                                                                                                                                                              ''
                                                                                                                                                                                                                                                                                                                               'r
                                                                                                                                                                                                                                                                                                                                '''-
                                                                                                                                                                                                                                                                                                                                   h'
                                                                                                                                                                                                                                                                                                                                    '!
                                                                                                                                                                                                                                                                                                                                     ''1
                                                                                                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                                                                                       .*
                                                                                                                                                                                                                                                                                                                                        ?
                                                                                                                                                                                                                                                                                                                                        '
                                                                                                                                                                                                                                                                                                                                        '%
                                                                                                                                                                                                                                                                                                                                         L')ö''t''*
                                                                                                                                                                                                                                                                                                                                                  :-
                                                                                                                                                                                                                                                                                                                                                   h
                                                                                                                                                                                                                                                                                                                                                   'êh'
                                                                                                                                                                                                                                                                                                                                                      'l
                                                                                                                                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                                                                                                                                       .r
                                                                                                                                                                                                                                                                                                                                                        î''.'è11
                                                                                                                                                                                                                                                                                                                                                             >ê

           ..u wlur
                  e tm >wetere ers>FileHasts
           2......- jHotsle:Accœ ntTerminaNon


             ..       .                                                                                                                                                                                                                                                 t 2 a 11 sl > La< n


           o lahFexltotlzpu                                                                                                                                                                                                                                                                                                                          u
           Ni
            QhtMare                              o HotfleQmuntTR lndl
                                                                    on
           Mm te
                                                Ju< g0tan E-mailfrom Hotfile :
           websltets)
           deulstivne.orfl                      Youraccounthasbeenterminated dueto repeated copyrightinfringementviolationi
           JolnDate.Oct2010
           Post
              s'431                             doer'
                                                    tHotfileju< rocI
                                                                   œ?
                                                whydoesaIIofyou Iilluàng HF?
                                                 itsthe wort ho< ever!
                                                 Modspleaœ Ieave itopen ,iwanna *e whym m eguysMiIIuïng HF .
                                                 and pleaœ ,don'tny you l ould have changedthe md5
                                                 coziDID !

           @ l                                                                                                                                                                                                                                                                                 e*                                     **
                                   '


                                                                                               '.                                                                                         I
                                          .      e.;                                                                                                                                                                                                        y                 #             #




           Q 1% Fdlmlî*:15PM
           buck rider
           M&+G
                                                 Gotthat*mee-mailju< 2minutesago.
           Websltels)
            abookws                              Accountœ mended,money gone.:-/
           JœnDale.Jan2010
           Pasts.27
           t
                  !                                                                                                                                                                                                                                                                      &.. c ..
           Q 1% FebKlt(M:ISPM
           9 Mr-R-T
           GlctW Me atcr
                                                 IoIIthinkevef
                                                             yoneisgettingtheiraccountterminated(%
                                                                                                 .'.
                                                                                                        Advertiœ on a l5K unique viétorWday 65% organic,16% directpopularblogl
                                                                                                                       hnp://ïg.grumpybumperscom/hoX MrRT,gif


           Websltels)
            HQ-Uploads.conl
            HolFileserve.of(j
           JanDate.May20f/.   3
           Locallon:Undergfound
           Posts 2,863

                                                                                                                                                                                                                                                                                         &.. c ..

1of3                                                                                                                                                                                                                                                                                                         02/25/ 01103:19 PM
 Case 1:11-cv-20427-KMW Document 257-11 Entered on FLSD Docket 02/13/2012 Page 3 of 4

Hotflle:AccountTermination -W lunction                                            http://www.wjunction.coY showte eadphp?t=6g3s6

                                                                                                                                              :
        Q 1% FY ZOIX(
                    M:16PM
        cvrIe77
        M*
                                fepeated meansu uploaded *me filesoverand overand over...lgot16 rapidl afe accountsdown,u thinkHF %1x? IoI4
                                ofthem were in >me month




        JolnD ate:Aug 2*9
        Posts'390
        1
                                                                                                                       @ #            e @
        * ,
        Q 1ahFY ZO!A (M:18f>M
        Thumper-rM
        MGbx
                                (JEl,fiIestlnic
                                 ch- AdspotorpThunw-Dc.conb




        Websltets)
         ThumperDcxconl
        Jol17Date:Jan2011
        Locahtm:Heaken
        Posts 55

                                                                                                                     &.. c ..
        Q 1% Febmtt:*18PM
        NightMare
        Mm bl
                                well,atleaM RS uœ dto give good reœ ns!
        Wellsllels)
         deuisdiune.org
        Jtxt:Date'Oct2010
        Posls 431

        @ !                                                                                                          c.. c ..
        Q 1&hFe mlt(M:18PM
        infernohuman
        Mmtxr
                                <)you a> whydoesanyl u* hotfile...
        Jo'nDate Aug2010        * 9did u u* ituntilyouraccountgotterminated?
        Pobts 313               igtlessallotllerswillAopwhen theygetm memailasyotl...
         t
                                M)you gotenlighted,good foryou.,.



                                                                                                                        e *           e *
        * !
        Q 1% FdlKI.
                  L(QK PM
        petertouch
        Mœ++
                                Shouldn'tviolate TOS.
        JolnDale Aug 201D
        Posts.137

        * '                                                                                                          &.. c ..

2 of3                                                                                                                         02/25/2011 03:19 PM
 Case 1:11-cv-20427-KMW Document 257-11 Entered on FLSD Docket 02/13/2012 Page 4 of 4

Hotflle:AccountTermination -Wlunction                                                      http://www.wjunction.coe showte eA phpA=6g3s6

        FolahFebxllttxzxI>M

         MGèy
                                    YouireanidiotformakngthisthfeadthewayyouphraAdeverything.ReadthedamnTOSfift.Findafileho<(Iafgeand
         Websltets)                 facingIawAitsatthemoment)thatwouldnotdothiswithaIithepfe> retheyarefacing.Doyouthinktheywouldri<
          IMGKeepxcom
          mGca
                                    clo:ngtoMtiA yourneeds:/Openanew accountandrefrainfofclickng NewThread.
         JanDate'Aug 2* 3                                                  Free,Unlimited.Stable Image Hosting
         Lœ ation:Canada                                   Qlnlinited Bandwidth -Llnlilrited Space -#rage Hacking -N rec/Linking
         Posts'2.711
                                                                            NEW NreFoxImaaeU/oadeeAdden!
                                                                                                                                     e @             #' *
         * 1
         Q 1% FYKIJU+:24PM
         NightMare
         M&te
                                    doesthey remove aI1urfileswhen they ban the acc ?
         websltets).
          te lsciune.org
         JarlDate'Oct2910
         Posls'zk31
                                                                                                                                     @ @             @ @
         * 1
                                                                                                                            l2 11 51 > La<njj
                                                                     GFY IXSTITY ING TITY >


         Ntre

         PrsZrN Rtles
         Yalrne rtsîlxwtlleat
         Ycume rcstrY ies
         Ycu- notIxx;tatœ tTrErxs
         Yalrne edtyxlN !S
          BBce isœ1
          Sm liesœeœ
         gMqccœ isœl
          HTMLctxKisœ
                                                                                                                       Forum Almp
          FGUMRdV                                                                                                        iti'-i-mw
                                                                                                                                 :                   Q i59?

                                     T/eal                               11TY Y                           Fœizn           R* iœ            taVtpœt
          e leccctrlhdp                                            O ae r                   Tœ > cdHdpDe&ksqm t                            2Y M# m101Q17M
          HctFileM ctm                                             saMœcd                   E- NDisctss'tn                                  LqM@ mlout11M
          IBt#rNIY tota% ae lev cuxfœ ave œé?xlcccux               F#Ndx                    Mœke%œetBtyM laexlne l                         16+ Decm otlBFhM
          le leaccGu fc c                                          O ama                    MNkœ anetBtzy* 1axlTra*)                        % Sepm O7'm M


                                                                Nltrru arec.AlT-fkT/eerrerKMlls()al8pM.

                                                                  M ve      'rh.e- e Us'M- *'Top
                                                                        Ft- Y WA IIdir/:?
                                                           Clw igt:mm .Dtt JdsdtElxerplsesUd(Ti1œ nKMq)




3 of3                                                                                                                                      02/255 011 03:19 PM
